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 8                             U NITED STATES DISTRICT COURT
 9                            CENTRAL DISTRICT OF CALIFORNIA
10 U NITED STATES OF AMERICA,                   Case No.: CR-17-00166-AB
11                     Plaintiff,               ORDER OF DETENTION
12                                                             3P43(a)]~a)(6);
   v                                            X18 U.S.0 ~§
13 AURA MARIA NEGREROS
   FIGUEROA,
14               Defendant.
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16        The defendant having been arrested in this District pursuant to a warrant issued by
17 the United States District Court for the ~~~- DI~~~'~ ~ ~-~~r~for alleged
18 violations) of the terms and conditions of his/her [probation][supervised release]; and
19        The Court having conducted a detention hearing pursuant to Federal Rule of
20 Criminal Procedure 32.1(a)(6) and 18 U.S.C. § 3143(a);
21        The Court finds that:
22 A.     (v~The defendant has not met his/her burden of established by clear and
23        convincing evidence that he/she is not likely to flee if released under 18 U.S.C. §
24        3142(b) or (c). This finding is based on ~~-re o~, ~.~14~5 ~ ~~+'1C,~-~,
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26
27
28         and/or
     Case 2:17-cr-00166-AB Document 105 Filed 11/15/21 Page 2 of 2 Page ID #:460




 1   B.   ( )The defendant has not met his/her burden of establishing by clear and
2         convincing evidence that he/she is not likely to pose a danger to the safety of any
 3        other person or the community if released under 18 U.S.C. § 3142(b) or (c). This
4         finding is based on:
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9         IT IS THEREFORE ORDERED that the defendant be detained pending the further
10 revocation proceedings.
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12 Dated: November 15, 2021
13                                                         United States Magist    e Judge
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